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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
                       Plaintiff,            )
                                             )
        v.                                   )       Cause No. 1:07-cr-0012-WTL-DKL-1
                                             )
 MELISSA GIBSON,                             )
                                             )
                       Defendant.            )

                Magistrate Judge’s Report and Recommendation

        This matter is before the undersigned according to the Order entered by the Honorable

 William T. Lawrence, directing the duty magistrate judge to conduct a hearing on the Petition for

 Warrant or Summons for Offender Under Supervision (“Petition”) filed on June 5, 2014, and to

 submit proposed Findings of Facts and Recommendations for disposition under 18 U.S.C. §§

 3401(i) and 3583(e). Proceedings were held on June 11, 2014, in accordance with Rule 32.1 of

 the Federal Rules of Criminal Procedure.1

        On June 11, 2014, defendant Melissa Gibson appeared in person with her appointed

 counsel, Joe Cleary. The government appeared by Brad Blackington, Assistant United States

 Attorney. The United States Probation Office (“USPO”) appeared by Officer Ross Carothers,

 who participated in the proceedings.




 1
        All proceedings were recorded by suitable sound recording equipment unless otherwise
 noted. See 18 U.S.C. § 3401(e).


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         The court conducted the following procedures in accordance with Federal Rule of

 Criminal Procedure 32.1(a)(1) and 18 U.S.C. § 3583:

         1.      The court advised Ms. Gibson of her right to remain silent, her right to counsel,

 and her right to be advised of the charges against her. The court asked Ms. Gibson questions to

 ensure that she had the ability to understand the proceedings and his rights.

         2.      A copy of the Petition was provided to Ms. Gibson and her counsel, who

 informed the court they had reviewed the Petition and that Ms. Gibson understood the violations

 alleged. Ms. Gibson waived further reading of the Petition.

         3.      The court advised Ms. Gibson of her right to a preliminary hearing and its

 purpose in regard to the alleged violations of her supervised release specified in the Petition. Ms.

 Gibson was advised of the rights she would have at a preliminary hearing. Ms. Gibson stated

 that she wished to waive her right to a preliminary hearing.

         4.      Ms. Gibson stipulated that there is a basis in fact to hold her on the specifications

 of violations of supervised release as set forth in the Petition. Ms. Gibson executed a written

 waiver of the preliminary hearing, which the court accepted.

         5.      The court advised Ms. Gibson of her right to a hearing on the Petition and of her

 rights in connection with a hearing. The court specifically advised her that at a hearing, she

 would have the right to present evidence, to cross-examine any witnesses presented by the

 United States, and to question witnesses against her unless the court determined that the interests

 of justice did not require a witness to appear.

         6.      Ms. Gibson, by counsel, stipulated that she committed Violation Numbers 1, 2, 3,

 4, 5, 6, 7, and 8 set forth in the Petition as follows:




                                                     2
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       Violation
       Number      Nature of Noncompliance

          1        “The defendant shall permit a probation officer to visit him or her at
                   any time at home or elsewhere and shall permit confiscation of any
                   contraband in plain view of the probation officer.”

                   On May 28, 2014, probation officers attempted to visit the offender at her
                   residence at 11:30 a.m. The offender’s boyfriend, Lance Sisk, exited the
                   residence and closed the door behind him. He stated the offender was
                   gone with her mother Debbie Ewing. The probation officer left the
                   residence and called the offender’s mother. Mrs. Ewing stated she had not
                   spoken with her daughter in two weeks.

                   Probation officers returned to the residence and again spoke with Mr. Sisk.
                   He was adamant that the offender was not home, but refused to allow
                   probation officers to enter the residence. On May 30, 2014, the offender
                   admitted she was home on May 28, 2014. She instructed Mr. Sisk to tell
                   her probation officer she was not home, because she would not pass a drug
                   test.

         2         “The defendant shall report to the probation officer in a manner and
                   frequency directed by the court or probation officer.”

                   On May 28, 2014, the probation officer contacted the offender on Lance
                   Sisk’s mobile phone and personally instructed her to report to the U.S.
                   Probation Office the following day at 9:00 a.m. for a urine test. Ms.
                   Gibson stated she would report as directed, but she failed to call or report
                   in person as instructed.

         3         “The defendant shall not commit another federal, state, or local
                   crime.”

         4         “The defendant shall not unlawfully possess a controlled substance.”

                   On May 30, 2014, probation officers conducted a search of the offender’s
                   residence and found .7 grams of methamphetamine, a digital scale, and
                   ceramic pipes under the offender’s bed in her bedroom. The Mooresville
                   Police Department seized the contraband and state charges may be filed.

         5         “The defendant shall refrain from unlawful use of a controlled
                   substance.”




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             6          “The defendant shall refrain from excessive use of alcohol and shall
                        not purchase, possess, use, distribute, or administer any controlled
                        substance or any paraphernalia related to any controlled substances,
                        except as prescribed by a physician.”

             7          “The defendant shall not frequent places where controlled substances
                        are illegally sold, used, distributed, or administered.

                        A urine sample collected from the offender on May 30, 2014, was positive
                        for amphetamines, cannabinoids, and opiates. Ms. Gibson subsequently
                        admitted ingesting marijuana, methamphetamine, and Vicodin, which was
                        not prescribed to her.

             8          “The defendant shall not associate with any persons engaged in
                        criminal activity and shall not associate with any person convicted of
                        a felony, unless granted permission to do so by the probation officer.”

                        On May 28, 2014, probation officers were attempting to locate the
                        offender and received information that she may be staying with Brooke N.
                        Robinson in Mooresville. Probation officers spoke with Ms. Robinson,
                        who was wearing an electronic monitoring transmitter, and she confirmed
                        being friends with the offender. She stated they either see each other or
                        speak weekly. Ms. Robinson was convicted of Possession of a Controlled
                        Substance, a felony, on January 30, 2014, in Morgan County, Indiana.
                        The offender did not have permission to associate with this convicted
                        offender.

        7.       The court placed Ms. Gibson under oath and directly inquired of Ms. Gibson

 whether she admitted violations 1, 2, 3, 4, 5, 6, 7, and 8 of her supervised release set forth above.

 Ms. Gibson admitted the violations as set forth above.

        8.       The parties and the USPO further stipulated that:

                 (a)    The highest grade of Violation (Violation 3) is a Grade B violation
                        (U.S.S.G. § 7B1.1(a)(2)).

                 (b)    Mr. Gibson’ criminal history category is 1.

                 (c)    The range of imprisonment applicable upon revocation of Mr. Reeves’
                        supervised release, therefore, is 4-10 months’ imprisonment. (See
                        U.S.S.G. § 7B1.4(a).)

        9.       The parties agreed on the appropriate disposition of the Petition to recommend to

 the court as follows: (a) the defendant’s supervised release is to be revoked; (b) the defendant

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 will be sentenced to the Bureau of Prisons for a period of six (6) months, with no supervised

 release to follow; (c) the defendant is to be taken into immediate custody.

        The court, having heard the admissions of the defendant, the stipulations of the parties,

 and the arguments and position of each party and the USPO, NOW FINDS that the defendant,

 MELISSA GIBSON, violated the above-specified conditions in the Petition and that her

 supervised release should be and therefore is REVOKED, and she is sentenced to the custody of

 the Attorney General or his designee for a period of six (6) months, with no supervised release to

 follow. The defendant is to be taken into immediate custody.

        Counsel for the parties and Ms. Gibson stipulated in open court waiver of the following:

        1. Notice of the filing of the Magistrate Judge=s Report and Recommendation;

        2. Objection to the Report and Recommendation of the undersigned Magistrate Judge

 pursuant to Title 28 U.S.C. '636(b)(1)(B) and (C); and, Federal Rules of Criminal Procedure

 59(b)(2).

        Counsel for the parties and Ms. Gibson entered the above stipulations and waivers after

 being notified by the undersigned Magistrate Judge that the District Court may refuse to accept

 the stipulations and waivers and conduct a revocation hearing pursuant to Title 18 U.S.C. '3561

 et seq. and Rule 32.1 of the Federal Rules of Criminal Procedure and may reconsider the

 Magistrate Judge=s Report and Recommendation, including making a de novo determination of

 any portion of the Report or specified proposed findings or recommendation upon which he may

 reconsider.




                                                  5
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        WHEREFORE, the magistrate judge RECOMMENDS the court adopt the above

 recommendation revoking Ms. Gibson’ supervised release, imposing a sentence of imprisonment

 of six (6) months, with no supervised release to follow. The defendant is to be taken into

 immediate custody.

        IT IS SO RECOMMENDED.

                06/12/2014
        Date: ____________________
                                                       _______________________________
                                                       Denise K. LaRue
                                                       United States Magistrate Judge
                                                       Southern District of Indiana




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